          Case 3:16-cv-00885-AVC Document 56 Filed 01/18/17 Page 1 of 2



                        UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF CONNECTICUT


JACK MONTAGUE,
     Plaintiff,

v.
                                                           CIVIL ACTION
YALE UNIVERSTIY, ANGELA GLEASON,                           No. 3:16-cv-00885-AVC
JASON KILLHEFFER, and OTHERS
UNKNOWN,
     Defendants.



     PLAINTIFF'S REQUEST FOR HEARING ON MOTION FOR PRELIMINARY
                             INJUNCTION

       Plaintiff respectfully requests that this Court schedule a hearing for oral argument on

Plaintiff's Motion for Preliminary Injunction (the "Motion"). In support of this motion, Plaintiff

states that the parties have submitted extensive briefing related to the Motion. The parties' briefs

in this regard present numerous issues, both legal and procedural, which are complex and highly-

contested. As such, Plaintiff believes that a hearing will materially assist the Court in ruling on

the matters raised by Plaintiff's Motion for Preliminary Injunction.
         Case 3:16-cv-00885-AVC Document 56 Filed 01/18/17 Page 2 of 2



                                              JACK MONTAGUE,

                                              By his attorneys,


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Dated: January 18, 2017
                              CERTIFICATE OF SERVICE

   I, Hillary A. Lehmann, hereby certify that this document filed through the ECF system will
   be sent electronically to the registered participants as identified on the Notice of Electronic
                                 Filing (NEF) on January 18, 2017.

                                                /s/ Hillary A. Lehmann




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